          Case 2:18-cr-00041-LGW-BWC Document 30 Filed 10/09/18 Page 1 of 1
                                          218-41
                                 CR __________________

                                           Sean Patrick Reardon
                             USA vs. ______________________________

                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF GEORGIA

                    NOTICE TO RETAINED CRIMINAL DEFENSE ATTORNEYS

    Retained criminal defense attorneys are expected to make financial arrangements satisfactory to
themselves and sufficient to provide for representation of each defendant until the conclusion of the
defendant’s case. An attorney’s appearance on behalf of a party constitutes an affirmative representation
of the fulfillment of such expectation. Counsel’s withdrawal from a pending case must be approved by a
judge of this court. Once an appearance by counsel is made, the court will expect counsel to represent the
defendant until the conclusion of the case. Ordinarily, a defendant’s failure to pay sums owed for
attorney’s fees or counsel’s failure to collect a sum sufficient to compensate for all services will not
constitute good cause for withdrawal. Moreover, counsel are reminded of the DIRECTORY RULES of
the State Bar of Georgia as a further explanation of the Canons of Ethics. [See, e.g., DR 2-110 (C)(1)(f) ].
A mere failure to pay an attorney does not amount to a client’s deliberate disregard of an obligation to a
lawyer as to expenses and fees.
    Every defendant has a right to appeal from any conviction; therefore, a convicted defendant’s case is
not concluded until his direct appeal is decided. Thus, the further expectation of this court and the United
States Court of Appeals for the Eleventh Circuit is that retained counsel, in making satisfactory financial
arrangements, will contemplate services to be rendered upon appeal.
    If a defendant moves the court to proceed on appeal in forma pauperis and/or for appointment of
Criminal Justice Act appellate counsel, retained counsel will be required to disclose (1) the total amount
of fees and costs paid, (2) by whom fees and costs were paid, (3) the method of any such payment, and (4)
the costs actually incurred and the services actually rendered. [Note that matters involving the receipt of
fees from a client are not generally privileged, United States v. Sims, 845 F.2d 1564 (11th Cir. 1988); In
Re Slaughter, 694 F.2d 1258 (11th Cir. 1982); In Re Grand Jury Proceedings: United States v. Jones, 517
F.2d 666 (5th Cir. 1975). ] Unless otherwise ordered by the court, all information submitted will be viewed
in camera unless otherwise ordered by the court for the purpose of deciding the defendant’s in forma
pauperis motion.
    Except in extraordinary circumstances, this policy will be strictly applied. Any such extraordinary
circumstances shall be brought to the court’s attention by emergency motion for withdrawal of counsel.



COPY TO BE SERVED UPON EVERY RETAINED LAWYER; FILE A COPY AND NOTE SERVICE
THEREON.
                        Alan D. Tucker
                        #9 St. Andrews Court, Suite 201
                        Brunswick, GA 31520
                        912-267-7123
                        Email: alan@alantuckeratty.com
